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EXHIBIT
  A
Case: 1:16-cv-00224-SNLJ
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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: FLUOROQUINOLONE PRODUCTS
LIABILITY LITIGATION                                                                  MDL No. 2642



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −50)



On August 17, 2015, the Panel transferred 19 civil action(s) to the United States District Court for
the District of Minnesota for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. See 122 F.Supp.3d 1378 (J.P.M.L. 2015). Since that time, 415 additional action(s) have
been transferred to the District of Minnesota. With the consent of that court, all such actions have
been assigned to the Honorable John R. Tunheim.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the District of Minnesota and assigned to Judge
Tunheim.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
District of Minnesota for the reasons stated in the order of August 17, 2015, and, with the consent of
that court, assigned to the Honorable John R. Tunheim.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the District of Minnesota. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
Case: 1:16-cv-00224-SNLJ
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IN RE: FLUOROQUINOLONE PRODUCTS
LIABILITY LITIGATION                                                      MDL No. 2642



                    SCHEDULE CTO−50 − TAG−ALONG ACTIONS



   DIST      DIV.      C.A.NO.       CASE CAPTION


MISSOURI EASTERN

   MOE        1        16−00224      Johnson v. Johnson & Johnson et al

NEW JERSEY

    NJ        3        16−05122      MCDANIEL v. JOHNSON & JOHNSON et al
                                     CROSS v. BAYER HEALTHCARE
    NJ        3        16−05147      PHARMACEUTICALS, INC. et al
    NJ        3        16−05176      HAMRICK v. BAYER CORPORATION et al
    NJ        3        16−05238      DUNN v. JOHNSON & JOHNSON et al

NEW YORK SOUTHERN

   NYS        1        16−06554      Fishman v. Bayer Corporation et al

PENNSYLVANIA EASTERN

   PAE        2        16−04399      KEHRER v. JOHNSON & JOHNSON et al
   PAE        2        16−04402      LEMONDE v. JOHNSON & JOHNSON et al
   PAE        2        16−04403      WHORTON v. JOHNSON & JOHNSON et al
   PAE        2        16−04426      MANESS v. JOHNSON & JOHNSON et al
   PAE        2        16−04446      ANDERSON v. JOHNSON & JOHNSON et al
   PAE        2        16−04447      ANDREWS v. JOHNSON & JOHNSON et al
